         Case 1:13-cv-00006-EDK Document 21 Filed 11/15/13 Page 1 of 1




      In The United States Court of Federal Claims
                       Nos. 13-00006C; and 13-06000C thru 13-06356C

                                     (Filed: November 15, 2013)
                                             __________

 PUBLIC HOUSING AUTHORITIES
 DIRECTORS ASSOCIATION, et al,

                       Plaintiffs,

        v.

 THE UNITED STATES,

                       Defendant.
                                            __________

                                             ORDER
                                            __________


        Preliminary status conference will be held in this case on Wednesday, December 4, 2013,
at 2:00 p.m. (EST) at the United States Court of Federal Claims, National Courts Building, 717
Madison Place, N.W., Washington, D.C. 20439. The courtroom location will be posted in the
lobby on the day of the conference.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
